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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                                Indianapolis Division


THOMAS D. WHITTAKER                                   )
          Plaintiff,                                  )
                                                      )
             v.                                       )      Case No. 1:20-cv-2816-JMS-MJD
                                                      )
EQUIFAX INFORMATION SERVICES, LLC,                    )
TRANS UNION, LLC, EXPERIAN                            )
INFORMATION SOLUTIONS, INC,                           )
U.S. BANK, NA, BANK OF AMERICA, NA,                   )
ABSOLUTE RESOLUTIONS INVESTMENTS,                     )
LLC, RADIUS GLOBAL SOLUTIONS, LLC,                    )
CAPITAL MANAGEMENT SERVICES, LP                       )
and CREDIT CONTROL, LLC.                              )
      Defendants.                                     )

                                NOTICE OF APPEARANCE

TO:   The Clerk of Court and all parties of record:

      I am admitted or otherwise authorized to practice in this court, and I appear in this case as

counsel for: Thomas D. Whittaker, Plaintiff.

      Dated this 30th day of October, 2020.



                                              /s/ Travis W. Cohron
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